     Case 1:15-cr-00284-DAD-BAM Document 50 Filed 01/30/17 Page 1 of 2


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 4
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 6

 7

 8                                   UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                         Case No. 1:15-cr-00284-DAD-BAM-1
12                      Plaintiff,
13          v.                                         STIPULATION AND ORDER TO
                                                       CONTINUE SENTENCING
14   MARIA MORA,
15                      Defendant.
16

17          TO:     THE UNITED STATES DISTRICT COURT; UNITED STATES ATTORNEY'S

18                  OFFICE and/or ITS REPRESENTATIVES:

19          IT IS HEREBY STIPULATED and agreed by and between attorneys for the respective

20   clients that the Sentencing hearing currently on calendar for March 6, 2017, at 10:00 a.m., be

21   continued to April 10, 2017, at 10:00 a.m., or as soon thereafter as is convenient to the court’s

22   calendar.

23          This continuance is requested by counsel for Attorney, MICHAEL AED, due to his father

24   passing unexpectedly on December 29, 2016. He was summoned to Chicago, Illinois to take care

25   of his personal business, house, and financial affairs and to make funeral arrangements. He did

26   not return to the office until January 10, 2017. Counsel needs additional time to prepare for and

27   litigate sentencing issues due to the above stated circumstances causing an inability to meet the

28   deadlines originally imposed for the current sentencing dates. Counsel for Defendant has spoken
                                                      1
     Case 1:15-cr-00284-DAD-BAM Document 50 Filed 01/30/17 Page 2 of 2


 1   with Federal Probation Officer, Michael Armistead, and Assistant U.S. Attorney, Mark McKeon,

 2   who has no objection to this continuance. The parties agree to exclude time based on further

 3   prep, investigation and negotiations etc.

 4

 5   Dated: January 23, 2017               /s/ Michael J. Aed__
                                           Michael J. Aed
 6                                         Attorney for Defendant
 7

 8   Dated: January 23, 2017               UNITED STATES ATTORNEY’S OFFICE
 9                                         /s/ Henry Z. Carbajal
                                           Henry Z. Carbajal
10                                         Assistant U.S. Attorney
11

12                                               ORDER

13          The Court has reviewed and considered the stipulation of the parties to continue the

14   sentencing in this case. Good cause appearing, the sentencing hearing as to the above named

15   defendant currently scheduled for March 6, 2017, is continued until April 10, 2017, at 10:00 a.m.

16   in Courtroom 5 before District Judge Dale A. Drozd.

17   IT IS SO ORDERED.
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        Dated:     January 29, 2017
19                                                       UNITED STATES DISTRICT JUDGE

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